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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

       v.                                                Criminal Action No. 1:21-cr-0670 (CJN)

STEPHEN K. BANNON,

               Defendant.


                     ORDER STAYING SENTENCE PENDING APPEAL

        Pursuant to 18 U.S.C. § 3143(b), and as the Court explained at the Defendant’s

sentencing hearing, the Court finds that Defendant Stephen K. Bannon (a) is not likely to flee or

pose a danger to the safety of any other person or the community if released and (b) that his

appeal is not taken for the purpose of delay but rather raises a substantial question of law that is

likely to result in a reversal or an order for a new trial.

        Accordingly, it is

        ORDERED that the sentence in this case shall be STAYED pending Stephen K.

Bannon’s appeal of his conviction, see ECF No. 166.


DATE: November 7, 2022
                                                               CARL J. NICHOLS
                                                               United States District Judge




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